









Petition for Writ of Mandamus Dismissed and Memorandum Opinion filed
October 6, 2005









Petition for Writ of Mandamus Dismissed and Memorandum
Opinion filed October 6, 2005.

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-05-00706-CV

____________

&nbsp;

IN RE COOPER CAMERON CORPORATION,
Relator

&nbsp;

&nbsp;



&nbsp;

ORIGINAL
PROCEEDING

WRIT
OF MANDAMUS

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

On July 18, 2005, relator filed a second
petition for writ of mandamus in this court.[1]&nbsp; See Tex.
Gov=t. Code Ann. ' 22.221 (Vernon 2004); see also Tex. R. App. P. 52.&nbsp; Relator subsequently advised the court that
the parties were undertaking settlement negotiations.&nbsp; On September 27, 2005, relator filed a motion
to dismiss the mandamus proceeding because relator and the real parties in
interest have settled all issues between them in the underlying case.&nbsp; See Tex.
R. App. P. 42.1.&nbsp; The motion is
granted.








Accordingly, we dismiss relator=s petition for writ of mandamus.

PER CURIAM

Petition Dismissed and Memorandum
Opinion filed October 6, 2005.

Panel consists of Justices
Anderson, Fowler and Frost. 











[1]&nbsp; The underlying
action is styled Silber/I-10 Venture, Ltd., f/k/a Rocksprings, Ltd. v.
Falcon Interests Realty Corp. a/k/a Falcon Group Development a/k/a, d/b/a
Falcon Group Construction, Cooper Cameron Corporation and Cooper Industries,
Inc., under cause number 02-CV-0991 in the 212th District Court in&nbsp; Galveston County, Texas.







